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AO 399 (01/09) Waiver of the Service of Summons


                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

IOPLEX SOFTWARE LLC                                          Civ. Action No. 2:21-CV-07362 (JMV) (JBC)

                           Plaintiff,
                                                                       Document electronically filed
      v.

ZOHO CORPORATION,

                           Defendant.

                               WAIVER OF THE SERVICE OF SUMMONS

TO:        Christopher H. Strate, Esq.
           (Name of plaintiff’s attorney or unrepresented Plaintiff)

        I have received your request to waive service of a summons in this action upon Zoho Corporation
along with a copy of the complaint, two copies of this waiver form, and a prepaid means of returning one
signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this
case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the
court’s jurisdiction, and the venue of the action, but that I waive any objections to the absence of a
summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under
Rule 12 within 60 days from May 21, 2021 the date when this request was sent (or 90 days if it was sent
outside the United States). If I fail to do so, a default judgment will be entered against me or the entity I
represent.


Date:      May 21, 2021                                      ___________________________
                                                             Signature of the attorney or unrepresented party



Zoho Corporation _____                                                 Ryan Marton, Esq.
Printed name of party waiving of summons                                     Printed Name

                                                                       Marton Ribera Schumann & Chang LLC.
                                                                       548 Market Street
                                                                       Suite 36117
                                                                       San Francisco, CA 94104
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                                                                                   Address

                                                                          ryan@martonribera.com
                                                                                E-mail address


                                                                          415-360-2515
                                                                                 Telephone number




                           Duty to Avoid Unnecessary Expenses of Serving a Summons

         Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving
unnecessary expenses of serving a summons and complaint. A defendant who is located in the United States and
who fails to return a signed waiver of service requested by a plaintiff located in the United States will be required to
pay the expenses of service, unless the defendant shows good cause for the failure.

         “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an
improper venue, or that the court has no jurisdiction over this matter or over the defendant or the defendant’s
property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you
cannot object to the absence of a summons or of service.

         If you waive service, then you must, within the time specified on the waiver form, serve an answer or a
motion under Rule 12 on the plaintiff and file a copy with the court. By signing and returning the waiver form, you
are allowed more time to respond than if a summons had been served.




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